     Case 1:15-cr-10386-WGY Document 173 Filed 05/21/18 Page 1 of 3


                                                                      hi : 15- Pm
                     UNITED STATES DISTRICT COURT
                       DISTRICT OF MASSACHUSETTS




UNITED STATES OF AMERICA,

            V.                                    CRIMINAL ACTION
                                                  No.   15-10386 WGY


JEHU HAND


                 Defendant.




                              JURY VERDICT




     We find Jehu Hand:


     I. On the charge of conspiracy to commit securities and wire
        fraud concerning Greenway Technology

                      not guilty                  guilty

     2. On the charge of securities fraud concerning Greenway
       Technology

                      not guilty                  guilty

    ^. On the charge of wire fraud concerning Greenway Technology
       by means of Exhibit 158

                      not guilty         \/       guilty

    4. On the charge of conspiracy to commit securities and wire
       fraud concerning Crown Marketing

                      not guilty                  guilty

    5. On the charge of securities fraud concerning Crown
       Marketing

                      not guilty         y        guilty

    6. On the charge of wire fraud concerning Crown Marketing by
       means of Exhibit 159


                     not guilty         y         guilty
Case 1:15-cr-10386-WGY Document 173 Filed 05/21/18 Page 2 of 3



7. On the charge of destruction of records to impede a federal
  investigation

                not guilty                   guilty

8. On the charge of destruction of records to impede a federal
  grand investigation

        w/      not guilty                   guilty
       Case 1:15-cr-10386-WGY Document 173 Filed 05/21/18 Page 3 of 3




       9. What loss, if any, resulted from the criminal activity?

                       $0 to $6,500
                       $6,501 to $15,000
                       $15,001 to $40,000
                       $40,001 to $95,000
                       $95,001 to $150,000
                       $150,001 to $250,000
                       $250,001 to $550,000
                       $550,001 to $1,500,000
                   \/ $1,500,001 to $3,500,000

       10. Was mass marketing used to accomplish the criminal
          activity?

                       no      i/       yes


       11. Did Jehu Hand use sophisticated means to accomplish
          the criminal activity?

                       no               yes


       12.   Did Jehu Hand use special skills to accomplish the
         criminal activity?

                       no      i/       yes




Date   . K'/mjIT
